        Case 3:17-cv-00101-RDM Document 454 Filed 03/26/20 Page 1 of 1




March 26, 2020                                                                       Daniel P. Kearney


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Hon. Thomas I. Vanaskie
JAMS, Inc.
1717 Arch Street, Suite 3810
Philadelphia, Pennsylvania 19103

       Re:     CFPB v. Navient Corp., et al., Case No. 3:17-cv-00101-RDM (M.D. Pa.)

Dear Judge Vanaskie:

        Pursuant to Special Master Report #18, I write regarding the parties’ efforts to agree on a
date by which the CFPB must provide a report in response to the report of Dr. Ang. At this time,
the parties are unable to reach an agreement regarding this deadline.

        In its initial letter moving to disqualify Dr. Ang, the CFPB requested an extension of the
deadline for its supplemental report until “two weeks after this motion is decided.” Doc. 387 at 1
n. 3. The Special Master issued an order denying the CFPB’s disqualification motion on March
19, 2020. However, given the potential disruption caused by COVID-19, Defendants offered to
extend the CFPB’s deadline for an additional week beyond the CFPB’s initial two-week request,
so that the response to Dr. Ang’s report would be due on April 9, 2020.

        On March 24, the CFPB informed Defendants that they intend to object to Special Master
Report #18 and take the position that no response to Dr. Ang’s report should be due until two
weeks after Judge Mariani rules on the CFPB’s objections. After the CFPB provides its
supplemental report, both Dr. Ang and Dr. Mullin must be deposed with sufficient time for their
expert reports and any relevant testimony to be incorporated into the parties’ dispositive motions.
The additional indefinite delay sought by the CFPB is unworkable in light of the already
significant delay caused by the CFPB’s disqualification motion and the impending May 19
deadline for filing summary judgment motions.

        To avoid further delaying adjudication on the merits of this case, Defendants respectfully
request an order requiring the CFPB to provide its response to Dr. Ang’s report no later than
April 9, 2020, as well as an order that depositions of Dr. Ang and Dr. Mullin be completed by
May 1, 2020.

                                                             Sincerely,



                                                             /s/ Daniel P. Kearney
